Case 14-15018      Doc 25    Filed 01/30/15 Entered 01/30/15 07:01:32          Desc Main
                               Document     Page 1 of 4



                   UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF MASSACHUSETTS
                            EASTERN DIVISION
 ____________________________________
                                      )
 In re:                              )
                                      )   Chapter 7
 BETTYE JO WRAY-FEARS,                )   Case No. 14-15018-JNF
                                      )
                         Debtor       )
 ____________________________________)

                          UNITED STATES TRUSTEE’S
                     MOTION TO EXTEND DEADLINES FOR
                i) OBJECTING TO DEBTOR’S DISCHARGE UNDER
             SECTION 727(a) AND ii) MOVING TO DISMISS DEBTOR’S
               CHAPTER 7 CASE UNDER SECTION 707(b)(1) AND (3)
                       (WITH CERTIFICATE OF SERVICE)

        Pursuant to 11 U.S.C. 307, 707(b)(1) and (3) and 727(a) and Fed. R. Bank. P.

 1017(e) and 4004(b), the United States Trustee moves the Court to extend, until

 April 3, 2015, the deadlines for: i) objecting to the discharge of Bettye Jo Wray-Fears

 (“Debtor”); and ii) moving to dismiss the Debtor’s chapter 7 case. In support, the United

 States Trustee says:

        1.      On October 28, 2014, the Debtor filed her voluntary chapter 7 petition

 (“Petition Date”). The Debtor’s Official Form 22A indicates that the filing is presumed

 abusive. See D.E. #5.

        2.      The chapter 7 trustee conducted the first meeting of creditors on

 December 9, 2014. According to the docket, the deadline for objecting to the Debtor’s

 discharge under 11 U.S.C. 727(a) (and, by extension, seeking to dismiss her chapter 7

 case under 11 U.S.C. 707(b)) expires on February 2, 2015. Fed. R. Bankr. P. 1017(e) and

 4004(b).




                                            1
Case 14-15018         Doc 25     Filed 01/30/15 Entered 01/30/15 07:01:32            Desc Main
                                   Document     Page 2 of 4



           3.     On January 13, 2015, the United States Trustee timely filed his Motion to

 Dismiss Case for Abuse Under 11 U.S.C. 707(b)(1), (2)(A) (“Motion”).                The Court

 scheduled a hearing on the Motion for February 17, 2015.

           4.     On January 23, 2015, Debtor’s counsel filed her Objection/Response to

 the United States Trustee’s Motion. To date, the United States Trustee has not received

 the supplemental documents mentioned in the Debtor’s Objection/Response.

           5.     The United States Trustee needs additional time to investigate whether

 grounds exist for objecting to the Debtor’s discharge under 11 U.S.C. 727(a)1 or moving

 to dismiss the Debtor’s chapter 7 case under 11 U.S.C. 707(b)(1) and (3).2

           6.     This motion is without prejudice to the United States Trustee’s seeking

 additional extensions, if warranted.

           For these reasons, the United States Trustee requests that the Court enter orders: i)

 extending the deadlines for objecting to the Debtor’s discharge under 11 U.S.C. 727(a)

 and/or moving to dismiss the Debtor’s chapter 7 case under 11 U.S.C. 707(b), until

 April 3, 2015; and ii) granting him all such other and further legal and equitable relief to

 which he may be entitled.

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  See Grogan v. Garner, 498 U.S. 279 (1991); Boroff v. Tully (In re Tully), 818 F.2d 106
 (1st Cir. 1987); In re Lord, 244 B.R. 196 (Bankr. D.N.H. 1999).
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     See First U.S.A. v. Lamanna (In re Lamanna), 153 F.3d 1 (1st Cir. 1998).


                                                2
Case 14-15018    Doc 25   Filed 01/30/15 Entered 01/30/15 07:01:32   Desc Main
                            Document     Page 3 of 4




                                       Respectfully submitted,

                                       William K. Harrington
                                       United States Trustee
                                       Region One

 Date: January 30, 2015                By:    /s/ Paula R. C. Bachtell
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                                      3
Case 14-15018      Doc 25    Filed 01/30/15 Entered 01/30/15 07:01:32           Desc Main
                               Document     Page 4 of 4




                             CERTIFICATE OF SERVICE

        I certify that on January 30, 2015, true and correct copies of the foregoing motion
 were served via CM/ECF upon the individuals who have filed notices of appearance in
 the Court’s CM/ECF database, including the persons listed below.

                                             William H. Harrington
                                             United States Trustee
                                             Region One

                                      By:    /s/ Paula R. C. Bachtell
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                                             4
